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         INTAKE
          JUL25201sw                                                              RECEIVED
                                        UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF ILLINOIS                    JUL 2 4   201$

                                              EASTERN DIVISION                        MAGISTRATE JUDGE
                                                                                     JEFFREY I. CUMMINGS
          UNITED STATES OF AMERICA                        )      No. 19 CR 474
                                                          )
                  V.                                      )      Hon. Robff-d,',l\{. Dow, Jr.
                                                          )                 -.,
          YALE SCHIFF and                                 )      Violations: Title 18, United States
          JASON SCHIFF                                    )      Code, Sections L344 and 10284
                                                          )
                                                          )      Soperseding Indictment

                                                   couNr      oNE       ilrctSTRATt   JUDG5,    l$I
                  The SPECIAL JANUARY 2019 GRAND JURY charges:

                  1.          At times material to this Superseding Indictment:

                              a.    Defendant YALE SCHIFF was an individual residing               in the
          Northern District of Illinois.

                              b.    Auto Title Loan Store of Illinois LLC (ATLSI) was a limited

          Iiability company incorporated in Illinois in or around 2003, with YALE SCHIFF                  as

          the sole manager, and involuntarily dissolved in or around 2072.

                              c.    Defendant JASON SCHIFF was YALE SCHIFF's brother and

          resided in the Northern District of Illinois.

                              d.    C.S. was YALE SCHIFF's relative, and the legal owner of the

          property located         at   1000 W. Adams Street    in   Chicago, Illinois (Adams Street

          Property) and the property located at 2460 Forest Glen Trail in Riverwoods, Illinois

          (Riverwoods Residence).


FILED                               I.S. was a relative of YALE SCHIFF and JASON SCHIFF.

       JUL 2 4   2019   llt   r'    A.S. was a relative of YALE SCHIFF and JASON SCHIFF.
.
    THOMAS G. BRUTON           -
CLERK, U.S. DISTR1CT COURT
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             g.    David Izsak was YALE SCHIFF's business associate.

             h.    The YaIe Schiff Fake Identity was an identity with the name Yale

Schiff, a date of birth and a social security number that did not belong to YALE

SCHIFF, and false employment and income information.

             i.    The Jeff Kaplan Fake Identity was an identity with the name Jeff

Kaplan, a social security number that belonged to a real person not named Jeff

Kaplan, a date of birth not known to be associated with any person named Jeff

Kaplan, and fictitious employment and income information.

             j.    The Sam Rosen Fake Identity was an identity with the name Sam

Rosen, a social security number that belonged to a real person not named Sam Rosen,

a date of birth not known to be associated with any person named Sam Rosen, and

fictitious employment and income information.

             k.    The J.G. Stolen Identity was an identity with the name, date of

birth, and social security number of J.G., a deceased real person known to YALE

SCHIFF, and false employment and income information.

             l.    The L.I. Stolen Identity was an identity with the name, date of

birth, and social security number of L.I., a relative of David Izsak and a real person

known to YALE SCHIFF, and false employment and income information.

             m.    American Chartered Bank (American Chartered), Bank of

America (BOA), Bank One, which was acquired by JP Morgan Chase Bank (Chase

Bank) in or around 2004, BMO Harris Bank (BMO Harris), BMW Bank of North

America (BMW Bank), Citibank N.A., Comenity Bank, Discover Bank, Fifth Third
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Bank (Fifth Third), IndyMac Bank, GMAC Bank, Chase Bank, TD Bank, U.S. Bank

National Association (U.S. Bank), and Washington Mutual Bank, which was

acquired by Chase Bank     in or around 2008 (WAMU), were financial institutions
insured by the Federal Deposit Insurance Corporation. CitiMortgage, a mortgage

lending business, was a subsidiary of Citibank N.A., an FDlC-insured financial

institution. Wintrust Mortgage, & mortgage lending business, was a division of

Barrington Bank & Trust Company N.A., an FDlC-insured financial institution.

GMAC Mortgage was a mortgage lending business. Santander Consumer USA

(Santander) was a North American subsidiary and branch of Banco Santander S.A.,

a foreign bank.

             n. Digital Federal Credit Union (Digital Federal), Navy Federal
Credit Union (Navy Federal), and Pentagon Federal Credit Union (Pentagon

Federal) were financial institutions insured       by the National Credit      Union

Administration.

             o.    Financial institutions, including those identified in the previous

two subparagraphs, required loan and credit applicants to provide truthful
information, including the applicant's identity, financial condition, employment,

income, liabilities, source of down payment funds, and encumbrances on collateral,

which was material to the financial institutions' approval, terms, and funding of

loans and extension of credit.

             p.    Mortgage lenders often sold or assigned loans to other lenders and

institutions (successors). Lenders disclosed that the loans could be sold or assigned.
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 and the likelihood that the loans would be sold or assigned. The information provided

 in loan applications and supporting documents, including the borrower's identity,

 financial condition, employment, income, Iiabilities, and source of down payment

 funds, and encumbrances on collateral, was material to the successors' decision to

 acquire the loans.

       2.    Beginning in or around 2005 and continuing to in or around 2018, in the

 Northern District of Illinois, and elsewhere,

                                  YALE SCHIFF and
                                   JASON SCHIFF,

defendants herein, knowingly participated        in a scheme to defraud a financial
institution and to obtain money, funds, credits, assets and other property owned by

and under the custody and control of a fi.nancial institution, by means of materially

false and fraudulent pretenses, representations, and promises, and concealment of

material facts, which scheme is further described in the following paragraphs.

       3.    It   was part of the scheme that YALE SCHIFF and JASON SCHIFF

fraudulently caused financial institutions to issue mortgage and vehicle loans, lines

of credit, and credit card accounts   in a total amount exceeding $5,000,000, by making

materially false representations to, and by concealing material facts from, financial

institutions regarding borrowers' qualifi.cations and encumbrances on collateral.

      4.     It was further part of the scheme that YALE SCHIFF and JASON
SCHIFF filed and caused the filing of false releases of mortgages and liens on real

property and vehicles held as collateral for loans, thereby making it appear that the

title to the collateral was free and clear and allowing YALE SCHIFF and JASON


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 SCHIFF to fraudulently obtain additional loan proceeds or to sell the collateral and

 retain the sales proceeds, without payment to prior lienholders.

         5.     It was further part   of the scheme that YALE SCHIFF fraudulently used

fictitious identities, through combinations of names, including fake names such as Jeff

Kaplan and Sam Rosen, social security numbers, and dates of birth, to obtain loans

and credit from fi.nancial institutions. In connection with YALE SCHIFF's use of

fictitious identities, YALE SCHIFF used a fake Illinois driver's license that bore the

name Jeff Kaplan with YALE SCHIFF's likeness and an address of a residence

previously used by YALE SCHIFF, and a fake Illinois driver's license that bore the

name Sam Rosen with David Izsak's likeness and an address of a residence used by

A.S.

         6.     It   was further part of the scheme that YALE SCHIFP and others

fraudulently used the identities of other real persons, namely L.I. and J.G., without

authorization from those persons,         to obtain loans and credit from    financial

institutions.

                        Fraudulently Obtained Mortgaee Loans
         7.     It was further part of the scheme that YALE SCHIFF and JASON
SCHIFF fraudulently obtained mortgage loans through false statements           in loan
application materials and false releases of mortgages on the collateral.

                         910 W. Madison Street.   Unit 802. Chicago

         8.     It was further part of the scheme that, in or around June 2005, YALE
SCHIFF filed or caused to be filed with the Cook County Record.er of Deeds a release
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that falsely stated that a HELOC of approximately $292,000 that he previously had

obtained from Bank One, secured by a property he owned at 910 W. Madison Street,

Unit 302, Chicago, Illinois (Nladison Street Property), was paid in fuII and that the
lien was thereby released when, as YALE SCHIFF knew, the loan was not paid in full

and the lien had not been released.

       9.      In order to conceal the scheme, YALE SCHIFF continued to pay on the

Bank One HELOC after he filed the false lien release.

       10. It was further part of the scheme that, in or around October 2005,
JASON SCHIFF, using false information including false employment and income

information, obtained two mortgage loans from CitiMortgage, including a loan for

approximately $316,000, to finance his purchase of the Madison Street Property from

YALE SCHIFF, secured by a mortgage on the Madison Street Property.

      11. It was further part of the scheme that, in or around October 2005, in
connection   with the sale of the Madison Street Property from YALE SCHIFF to
JASON SCHIFF, YALE SCHIFF signed the HUD-1 Settlement Statement reflecting

that a mortgage held by First American Bank of approximately $49,000 was the only

mortgage on the Madison Street Property to be paid off when, as YALE SCHIFF knew,

Bank One was a prior mortgagor on the Madison Street Property and the Bank One

Ioan had not been paid off.

      12.     It was further part   of the scheme that, in or around October 2005, YALE

SCHIFF sold the Madison Street Property to JASON SCHIFF for approximately

$395,000, and caused most of the sales proceeds to be paid to YALE SCHIFF, some of




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the sales proceeds to be paid to First American, and none of the sales proceeds to be

paid to Bank One.

         13.     It was further part   of the scheme that, in or around March 2009, JASON

SCHIFF filed or caused to be filed with the Cook County Recorder of Deeds a release

that falsely stated that the mortgage for approximately $316,000 held by CitiMortgage

on the Madison Street Property was paid in         full and that the lien was thereby released

when, as JASON SCHIFF knew, the Ioan was not paid in full and the lien had not

been released.

         14. It was further part of the scheme that, in or around October 2009,
JASON SCHIFF, using false information including false employment, income, and

asset information, and false representations that there were no prior mortgages on

the Madison Street Property, obtained from Fifth Third a HELOC in the amount of

approximately $255,000, secured by a mortgage on the Madison Street Property.

         15. It was further part of the scheme that, from in or around October 2009
through in or around November 2010, JASON SCHIFF obtained HELOC funds from

Fifth Third, and during that time, made purported payments on the HELOC using

fictitious checks to artificially inflate the amount of HELOC funds available.

         16. It was further part of the scheme that JASON SCHIFF shared. proceeds
of the fraudulently obtained Fifth Third HELOC with YALE SCHIFF, C.S., and David

Izsak.




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                          16 S. Aberdeen Street.   Unit 9. Chicago

        17. It was further part of the scheme that, in or around July 2005, YALE
SCHIFF obtained from GMAC Bank a HELOC in the amount of approximately

$125,000, secured by a property he owned located at 16 S. Aberdeen Street, Unit 9,

Chicago, Illinois (Aberdeen Street Property).

        18.    It was further part   of the scheme that, in or around August 2005, YALE

SCHIFF filed or caused to be filed with the Cook County Recorder of Deeds a release

that falsely stated that the GMAC Bank HELOC was paid in full and that the lien

was thereby released when, as YALE SCHIFF knew, the HELOC was not paid in full

and the lien had not been released.

        19. In order to conceal the scheme, YALE SCHIFF continued to make
payments on the GMAC Bank HELOC after he fiIed the false lien release.

        20. It was further part of the scheme that YALE SCHIFF fraudulently
obtained other loans secured by the Aberdeen Street Property, including the following:

(a)   in or around JuIy   2005, YALE SCHIFF obtained from Quicken Loans two

refinancing loans for the Aberdeen Street Property, one for approximately $480,000

(subsequently assigned to IndyMac Bank) and a second for approximately $120,000

(subsequently assigned to BOA); (b)      in or around December 2005, YALE SCHIFF
obtained from BMO Harris a HELOC for approximately $385,000; and (c) in or around

December 2006, YALE SCHIFF obtained from WAMU a HELOC for approximately

$468,000.




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       21.     It was further part   of the scheme that YALE SCHIFF obtained the loans

described in the preceding paragraph through false information, including providing

false income information in his loan application materials submitted to Quicken Loans

and BMO Harris, and falsely stating in his loan application submitted to WAMU that

certain loans were secured by other properties when, as YALE SCHIFF knew, those

Ioans were secured by the Aberdeen Street Property.

      22. It was further part of the scheme that, on multiple occasions, YALE
SCHIFF fi.led or caused to be filed with the Cook County Recorder of Deeds false

documents purporting to release various mortgages and liens on the Aberdeen Street

Property, and falsely claiming that various loans were paid in full, including: (a) in or

around October 2005, a release that falsely stated that the Quicken Loans/IndyMac

Bank loan was paid in full and that the Quicken Loans/IndyMac Bank lien on the

Aberdeen Street Property was thereby released; (b) in or around    April   2006, a release

that falsely stated that the BMO Harris HELOC had been paid in full and that the

BMO Harris lien on the Aberdeen Street Property was thereby released; (c) in or

around November 2007, a release that falsely stated that the WAMU HELOC had

been paid   in full and that the WAMU HELOC lien on the Aberdeen Street Property

was thereby released.

       23. It was further part of the scheme that, in or around August 2008, YALE
SCHIFF sold the Aberdeen Street Property for approximately $525,000, and received

approximately $484,000 in sale proceed.s, which he kept for his own benefit, without

paying off the outstanding loans secured by the Aberdeen Street Property.




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       24. In order to conceal the scheme, YALE SCHIFF continued to make
payments on certain of these loans after he fiIed the false lien releases, and on at least

one loan afber the sale of the Aberdeen Street Property.

                       1000 W. Adams Street.     Unit 816. Chicaeo

       25. It was further part of the scheme that, in or around September 2006,
YALE SCHIFF purchased the Adams Street Property for approximately $269,000,

financed by a loan from Chicago Financial Services for approximately fi242,000, using

the Adams Street Property as collateral. Chicago Financial Services subsequently

assigned service of the loan to GMAC Mortgage in or around November 2006.

      26. It was further part of the scheme that, in or around April 2009, YALE
SCHIFF and C.S. formed the 1000 W. Adams LLC as the only two members and

managers of the LLC, and YALE SCHIFF then transferred the Adams Street Property

to the 1000 W. Adams LLC; then, in or around November         2OO9,   the 1000 W. Adams

LLC transferred the Adams Street Property to C.S.

      27. It was further part of the scheme that, in or around November 2009,
YALE SCHIFF and C.S. obtained a loan in C.S.'s name from Wintrust Mortgage for

approximately $188,250, using the Adams Street Property as collateral.

      28. It was further part of the scheme that, in or around November 2009, in
response to a Wintrust Mortgage loan requirement that the Adams Street Property be

"owned free and clear," YALE SCHIFF submitted or caused to be submitted to

Wintrust Mortgage a fictitious letter purportedly from GMAC Mortgage to YALE

SCHIFF referencing the prior mortgage on the Adams Street Property and stating,



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"This is to confirm that your home mortgage loan with GMAC Mortgage has been paid

in full and is now closed effective October 70, 2007," when, as YALE SCHIFF knew,

the letter was not from GMAC Mortgage and the loan was not paid in fuII.

      29. It was further part of the scheme that, in or around November 2009,
Wintrust Mortgage issued in excess of $160,000 in mortgage loan proceeds to C.S.,

who transferred approximately $122,000 of the loan proceeds to a bank account

controlled by I.S., who then provided a portion of the loan proceeds to YALE SCHIFF.

                           2057 W. Ohio Street. Chicago

      30.     It was further part of the scheme that, in or around April   2007, YALE

SCHIFF fraudulently obtained from American Chartered a loan for approximately

$375,000 to finance the purchase of the property located   at 2057 W. Ohio Street,
Chicago, Illinois (Ohio Street Property) from Ohio Development Group LLC, of which

YALE SCHIFF was one of two managers/members, using that property as collateral,

and by submitting false information. to American Chartered, including a false

representation that YALE SCHIFF had only one outstanding mortgage on the

Aberdeen Street Property, the WAMU HELOC, when, as YALE SCHIFF knew, he had

multiple outstanding loans secured by the Aberdeen Street Property, including the

Quicken Loans/IndyMac Bank loan and the BMO Harris HELOC.

                        2460 Forest GIen Trail. Riverwoods

      31. It was further part of the scheme that, in or around June 2015, YALE
SCHIFF and C.S. obtained from Chase Bank a loan in C.S.'s name for approximately

$678,000 to purchase the Riverwoods Residence, secured by that same property.




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       32. It was further part of the scheme that, in or around April 2015, as part
of the loan application process, YALE SCHIFF falsely represented to Chase Bank   that

the Ohio Street Property did not have a mortgage on it when, as YALE SCHIFF knew,

the Ohio Street Property had at least one mortgage.

       33. It was further part of the scheme that, in or around May 2015, YALE
SCHIFF caused fraudulently obtained proceeds to be used to fund the down payment

on the Riverwoods Residence.

       34. It was further part of the scheme that, in or around May 2015, YALE
SCHIFF caused C.S. to falsely represent to Chase Bank that a portion of the down

payment funds were a $ft from a friend named Jeff Kaplan but were being returned,

and to falsely represent that a portion of the down payment funds were from        a

personal property transaction with an individual named Sam Rosen but were being

returned, and ultimately, to falsely represent that a portion of the down payment

funds were a gift from I.S.

                       Fraudulentlv Obtained Vehicle Loans
      35. It was further part of the scheme that YALE SCHIFF and JASON
SCHIFF fraudulently obtained vehicle loans from financial institutions through false

statements   in   vehicle loan applications and through fictitious releases falsely

asserting that such loans had been paid in full.

      36. It was further part of the scheme that, in or around July 2009, JASON
SCHIFF obtained a loan of approximately $50,000 from U.S. Bank to purchase a 2008

Porsche from YALE SCHIFF, secured by a lien on the vehicle.




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       37. It was further part of the scheme that, in or around December 2009,
JASON SCHIFF submitted or caused to be submitted to the Illinois Secretary of State

a letter falsely purporting to be from U.S. Bank and falsely stating   that the loan from

U.S. Bank had been paid in full, and requesting that U.S. Bank be removed as a

lienholder on the 2008 Porsche when, as JASON SCHIFF knew, the U.S. Bank loan

had not been paid in fuIl and the lien had not been released.

       38. It was further part of the scheme that, in or around May 2011, JASON
SCHIFF submitted or caused to be submitted to the Illinois Secretary of State a

request for a new title, adding ATLSI as a lienholder.

       39. It was further part of the scheme that, in or around June 2011, JASON
SCHIFF and YALE SCHIFF caused the 2008 Porsche to be sold and sales proceeds of

approximately $64,830 to be deposited into an ATLSI bank account controlled by

YALE SCHIFF, with no payment to U.S. Bank.

       40. It was further part of the scheme that, in or around April 2010, JASON
SCHIFF, using false employment and income information, obtained               a loan of
approximately $76,000 from Chase Bank to purchase a 2009 Land Rover, secured by

a lien on the vehicle.

       4L. It was further part of the scheme that, in or around October 2OlO,
JASON SCHIFF submitted or caused to be submitted to the Illinois Secretary of State

a letter falsely purporting to be from Chase Bank and falsely stating that the loan

from Chase Bank had been paid in full, and requesting that Chase Bank be removed




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as a lienholder on the 2009 Land Rover when, as JASON SCHIFF knew, the Chase

Bank loan had not been paid in fuII and the lien had not been released.

         42. It was further part of the scheme that, in or around April 2011, JASON
SCHIFF submitted or caused to be submitted to the Illinois Secretary of State an

installment contract claiming that JASON SCHIFF owed a debt to ATLSI, secured by

the 2009 Land Rover, and requesting that ATLSI be added as a lienholder on the Land

Rover.

         43. It was further part of the scheme that, in or around May 2011, ATLSI
sold the 2009 Land Rover, with the sales proceeds deposited       in a bank account
controlled by YAI,E SCHIFF, who shared some of the sales proceeds with JASON

SCHIFF, without paying off the Chase Bank loan.

         44. It was further part of the scheme that, in or around March 20L3, YALE
SCHIFF, using the YaIe Schiff Fake Identity, obtained a loan of approximately

$53,800 from BMO Harris to purchase a2014 Jeep Grand Cherokee, secured by a lien

on the vehicle.

         45. It was further part of the scheme that, in or around June 2014, YALE
SCHIFF submitted or caused to be submitted a letter to the Illinois Secretary of State

falsely purporting to be from BMO Harris and falsely stating that the BMO Harris

loan was paid in full, and requesting that the Illinois Secretary of State issue a

duplicate and corrected title that removed BMO Harris as the lienholder on the 2014

Jeep Grand Cherokee when, as YALE SCHIFF knew, the BMO Harris loan had not

been paid in   full and the lien had not been released.



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       46. It was further part of the scheme that, in or around June 2014, YALE
SCHIFF caused a company named Funding Choices to be added as a lienholder on the

fraudulently obtained duplicate title for the 2014 Jeep Grand Cherokee, then caused

Funding Choices to sell the vehicle for approximately $41,000 and deposited the sale

proceeds into a bank account controlled by YALE SCHIFF.

       47. It was further part of the scheme that, in or around May 2015, YALE
SCHIFF, using the Sam Rosen Fake Identity, including the fake Illinois driver's

license associated with that identity bearing a likeness of David lzsak, obtained from

Digital Federal   a loan of approximately $47,000 to purchase a 2015 Lexus RX350 from

the Jeff Kaplan Fake Identity, secured by a lien on the vehicle.

       48. It was further part of the scheme that, in or around May 2015, Digital
Federal issued the loan proceeds for the purchase of the 2015 Lexus RX350 to the Sam

Rosen Fake Identity by a check for $47,000 made payable to Jeff Kap1an, which was

deposited into an account in the name of the Jeff Kaplan Fake Identity controlled by

YALE SCHIFF, who used the proceeds of this fraudulent transaction for the down

payment on the Riverwoods Residence, as described above.

       49. It was further part of the scheme that YALE SCHIFF never transferred
title of the 2015 Lexus RX350 to the Sam Rosen Fake Identity and never added or
caused to be added Dig:ital Federal as a lienholder on the title.

      50. It was further part of the scheme that, in or around June 2015, YALE
SCHIFF added or caused to be added as a lienholder to the title of the 2015 Lexus

RX350 a company identified as Solutions Auto Group.




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         51. It was further part of the scheme that, in or around June 2015, YALE
SCHIFF caused Solutions Auto Group to sell the 2015 Lexus RX350 for approximately

$34,000,    with the sales proceeds deposited into a bank account in the name of
Solutions Auto Group, which was controlled by YALE SCHIFF using the Yale Schiff

Fake Identity, with none of the proceeds paid to Digital Federal.

         52. It was further part of the scheme that, in or around February 2017,
JASON SCHIFF, using false employment and income information, obtained a loan for

approximately $43,000 from Santander to purcha se a 2017 Toyota Sienna, secured by

a lien on the vehicle.

         53. It was further part of the scheme that, in or around February       2017,

YALE SCHIFF, using the Jeff Kaplan Fake Identity, obtained a loan of approximately

$92,000 from BMW Bank to purchase a2017 BMW X5 in the name of Jeff Kaplan and

Axis Development Corp, secured by a Iien on the vehicle.

         54. It was further part of the scheme that, in or around May 20L7, YALE
SCHIFF submitted or caused to be submitted to the Illinois Secretary of State a letter

falsely purporting to be from BMW Bank and falsely stating that the loan from BMW

Bank had been paid in fuII and requesting that BMW Bank be removed as a lienholder

on the   title of the 20t7 BMW X5 when, as YALE SCHIFF knew, the BMW Bank loan

had not been paid in fuII and the lien had not been released.

         55. It was further part of the scheme that, in or around June 2017 , YALE
SCHIFF attempted to sell the 20L7 BMW X5 at an auction, but BMW Bank prevented

the sale and recouped the vehicle.




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       56. It was further part of the scheme that, in or around October 2018,
JASON SCHIFF as the owner of Company A and YALE SCHIFF as a manager of

Company      A and as a guarantor, using false information including      false income

information of YALE SCHIFF and a misrepresentation that YALE SCHIFF had never

fi.led for bankruptcy, purchased   a 2078 BMW X5 in the name of Company A with

financing for approximately $84,000 from BMW Bank, secured by a lien on the vehicle.

The loan is in default.

                          Fraudulently Obtained Lines of Credit

       57.     It   was further part of the scheme that YALE SCHIFF fraudulently

obtained lines of credit from fi.nancial institutions using false information, including

false identities, the proceeds of which he used for his and family members' expenses,

then failed to pay the amounts due on the lines of credit.

      58. It was further part of the scheme that, in or around March 2015, YALE
SCHIFF, using the L.I. Stolen Identity, opened a line of credit at Navy Federal, which

YALE SCHIFF used to issue checks and transfer funds to YALE SCHIFF in his name

and in the name of fake identities used by YALE SCHIFF.

      59. It was further part of the scheme that, in or around April 2015, YALE
SCHIFF, using the Sam Rosen Fake Identity, opened a line of credit at Navy Federal,

which YALE SCHIFF used to issue checks to YALE SCHIFF in his name and in the

names of fake identities used by him, to C.S., and to I.S.

      60. It was further part of the scheme that, in or around February           2017,

YALE SCHIFF, using the Jeff Kaplan Fake Identity, opened a line of credit at Navy



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Federal, which YALE SCHIFF used for his own benefit and to issue checks to I.S. and

to A.S.

                    Fraudulently Obtained Credit Card Accounts

          61. It was further part of the scheme that YALE SCHIFF fraudulently
obtained from financial institutions credit card accounts using false information,

including false identities, which he used for his and family members'expenses, and on

which he left unpaid balances.

          62. It was further part of the scheme that, in or around April 2012, YALE
SCHIFF, using the Yale Schiff Fake Identity, obtained from Pentagon Federal a Visa

credit card account ending in number 3001, which YALE SCHIFF used for his own

benefit.

          63. It was further part of the scheme that, in or around May 2015, YALE
SCHIFF, using the Sam Rosen Fake Identity, obtained from Digital Federal a Visa

credit card account ending in number        L41.,   which YALE SCHIFF used for his own

benefit, including to obtain cash advances to fund checks payable to YALE SCHIFF

and YALE SCHIFF's fake identities.

          64.   It was further part   of the scheme that, in or around October 20L5, YALE

SCHIFF, using the L.I. Stolen Identity, obtained from Comenity Bank a Visa credit

card account ending in number 5121and a Visa credit card account ending in number

1015, both of which YALE SCHIFF used for his own benefit.

       65. It was further part of the scheme that, in or around. February           2017,

YALE SCHIFF, using the Jeff Kaplan Fake Identity, obtained from Navy Federal            a




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Visa credit card account ending in number   l7ll, with YALE SCHIFF as an authorized
user, which YALE SCHIFF used for his own benefit.

      66. It was further part of the scheme that, in or around February 2018,
YALE SCHIFF, using the J.G. Stolen Identity, obtained from Discover Bank            a

Discover credit card account ending in number 5818, which YALE SCHIFF used for

his own benefit.

      67. It was further part of the scheme that, in or around February        2018,

YALE SCHIFF and David Izsak, using the J.G. Stolen Identity, obtained from TD

Bank a Nordstrom credit card account ending in number 7763, which YALE SCHIFF

and David Izsak used for their own benefit.

      68. It was further part of the scheme that YALE SCHIFF and JASON
SCHIFF misrepresented, concealed, and hid, and caused to be misrepresented,

concealed, and hidden, the existence, purposes, and acts done   in furtherance of the

scheme.

      69.     On or about October 28, 2009, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                   ]ASON SCHIFF,

defend.ant herein, knowingly executed. and attempted to execute the above-described

scheme by causing Fifth Third to open a HELOC in the name of JASON SCHIFF in

the amount of approximately $255,000;

      In violation of Title 18, United States Code, Section 1344.




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                                   COUNT TWO

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 68 of Count One              are

incorporated here.

      2.     On or about November 2, 2009, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                   YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Wintrust Mortgage to issue loan proceeds to C.S. in the amount of

approximately $188,250, to purchase the Adams Street Property;

      In violation of Title 18, United States Code, Section 1344.




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                                 COUNT THREE

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 68 of Count One              are

incorporated here.

      2.     On or about June 9, 2075, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                  YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Chase Bank      to issue loan proceeds to C.S. in the amount of
approximately $678,000, to purchase the Riverwoods Residence;

      In violation of Title 18, United States Code, Section 1344.




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                                  COUNT FOUR

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 68 of Count One             are

incorporated here.

      2.     On or about J:uly 24,2009, in the Northern District of lllinois, Eastern

Division, and elsewhere,

                                YALE SCHIFF and
                                 JASON SCHIFF,

defendants herein, knowingly executed and attempted to execute the above-described

scheme by causing U.S. Bank to issue loan proceeds to JASON SCHIFF in the amount

of approximately $50,000 for the purchase of a 2008 Porsche;

      In violation of Title 18, United States Code, Section 1344.




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                                   COUNT FIVE

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 68 of Count One              are

incorporated here.

      2.     On or about April 30, 2010, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                  JASON SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Chase Bank      to issue loan proceeds to JASON SCHIFF in the

amount of approximately $76,000 for the purchase of a 2009 Land Rover;

      In violation of Title 18, United States Code, Section L344.




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                                    COUNT SD(

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 68 of Count One               are

incorporated here.

      2.     On or about March 27,20L3, in the Northern District of lllinois, Eastern

Division, and elsewhere,

                                   rALE SCHIFF,

defendant herein, knowingly executed and attempted. to execute the above-described

scheme by causing BMO Harris to issue loan proceeds to the Yale Schiff Fake   Identity

in the amount of approximately    $53,800 for the purchase of       a 2014 Jeep Grand
Cherokee;

      In violation of Title 18, United States Code, Section t344.




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                                 COUNT SEVEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 68 of Count One              are

incorporated here.

      2.     On or about May 14, 2015, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                  YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing    Digital Federal to issue loan proceeds to the Sam Rosen Fake

Identity in the amount of approximately $47,000 for the purchase of a Lexus RX350;

      In violation of Title 18, United States Code, Section 1344.




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                                    COUNT EIGHT

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

       1.       The allegations of paragraphs 1 through 68 of Count One             are

incorporated here.

      2.        On or about March 13, 2015, in the Northern District of Illinois Eastern

Division, and elsewhere,

                                     YALE SCHIFF,

defendant herein, knowingly executed and attempted. to execute the above-described

scheme by causing Navy Federal to open a line of credit in the name of the   L.I. Stolen

Identity;
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                   ^f m:+I^ 'i o TT-:+^l O+^+^^ ft^l^ c!^^+:-
      In violation of Title 18,  United States  Code, Section 1344.




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                                      COUNT NINE

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 68 of Count One                  are

incorporated here.

      2.     On or about   April   28, 2015, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                     YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Navy Federal to open a line of credit in the name of the Sam Rosen

Fake Identity;

      In violation of Title 18, United States Code, Section 1344.




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                                   COUNT TEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 68 of Count One               are

incorporated here.

      2-     On or about February 14, 2017, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                   rALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Navy Federal to open a line of credit in the name of the Jeff Kaplan

Fake Identity;

      In violation of Title 18, United States Code, Section 1344.




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                                 COUNT ELEVEN

             The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 68 of Count One              are

incorporated here.

      2.     On or about May 11, 2015, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                  rALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Digital Federal    to open a Visa credit card account ending in

number 141 in the name of the Sam Rosen Fake Identity;

      In violation of Tit1e 18, United States Code, Section 1344.




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                                   COUNT TWELVE

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 68 of Count One           are

incorporated here.

      2.     On or about October 21, 2015, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                    YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Comenity Bank       to open a Visa credit card account ending in

number 1015 in the name of the L.I. Stolen Identity;

      In violation of Title 18, United States Code, Section 1344.




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      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      On or about October 2L, 2015, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                   YALE SCHIFF,

defendant herein, during and in relation to any felony, namely bank fraud as charged

in Count Twelve, did knowingly possess and use, without lawful authority, a means

of identification of another person, namely the social security number of L.I.;

      In violation of Title 18, United States Code, Section 10284.




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                               COUNT FOURTEEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.    The allegations of paragraphs 1 through 68 of Count One               are

incorporated here.

      2.     On or about February L4, 2017, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                   rALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Navy Federal to open a Visa credit card account ending in number

1711 in the name of the Jeff Kaplan Fake Identity;

      In violation of Title 18, United States Code, Section 1344.




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                                COUNT FIFTEEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      1.     The allegations of paragraphs 1 through 68 of Count One              are

incorporated here.

      2.     On or about February 14, 20L8, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                   YALE SCHIFF,

defendant herein, knowingly executed and attempted to execute the above-described

scheme by causing Discover Bank to open a Discover credit card account ending      in

number 5818 in the name of the J.G. Stolen Identity;

      In violation of Title 18, United States Code, Section 1344.




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                                 COUNT SD(TEEN

      The SPECIAL JANUARY 2019 GRAND JURY further charges:

      On or about February L4 2018, in the Northern District of lllinois, Eastern

Division, and elsewhere,

                                   YALE SCHIFF,

defendant herein, during and in relation to any felony, namely bank fraud as charged

in Count Fifteen, did knowingly possess and use, without lawful authority, a means

of identification of another person, namely the social security number of J.G.;

      In violation of Title 18, United States Code, Section 1028.4.




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                          FORFEITURE ALLEGATION
      The SPECIAL JANUARY 2019 GRAND JURY alleges:

      1.     Upon conviction of an offense in violation of Title 18, United States Code,

Section 1344, as set forth in this Indictment, defendants shall forfeit to the United

States of America any property which constitutes and is derived from proceeds

obtained directly and indirectly as a result of the offense, as provided     in Title   18,

United States Code, Section 982(a)(2)(A).

      2.     The property to be forfeited includes, but is not limited to:

             a.    with respect to both defendants,   a personal money judgment     in
                   the amount of approximately $4,900,000; and

             b.    with respect to defendant YALE SCHIFF, the following specific
                   property:

                   i.     real property commonly known as 2460 Forest GIen Trail,
                          Riverwoods, Illinois, legally described as follows:

                          LOT 17 IN MITCHELL C. MACK'S DEERFIELD
                          WOODI."AND SUBDIVISION, BEING A SUBDIVISION
                          OF PART OF THE SOUTHEAST % OF SECTION 25,
                          TOWNSHIP 43 NORTH, RANGE 11 EAST OF THE
                          THIRD PRINCIPAL MERIDIAN, ACCORDING TO THE
                          PLAT THEREOF RECORDED JUNE 15, 1956, AS
                          DOCUMENT 912091 IN BOOK 33 OF PI,ATS, PAGE 99,
                          IN I,AKE COUNTY, ILLINOIS
                          PIN: 15-2 5-407 -023-0000


      3.     If any of the property described above, as a result of any act or omission
by defendants: cannot be located upon the exercise of due diligence; has been
transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled   with other property which cannot be divided without difficulty,            the
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United States of America shall be entitled to forfeiture of substitute property,   as

provided in Title 21, United States Code Section 853(p).



                                             A TRUE BILL:




                                             FOREPERSON



UNITED STATES ATTORNEY




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